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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF RHODE ISLAND




 Maryann Mathews, Kevin Mathews
               Plaintiff
 v.                                                   CA No. 1:15-cv-00389-M-PAS
 Wells Fargo Bank, N.A., Alias and John
 Doe, Alias and Orlans Moran, PLLC
               Defendants




  ORLANS MORAN’S MOTION TO ENLARGE TIME TO RESPOND TO DISCOVERY
           AND RESCHEDULE DEPOSITION OF ORLANS MORAN

          Now comes the Defendant, Orlans Moran, PLLC, in the above captioned matter, and

 hereby moves to enlarge the time for Orlans Moran, PLLC to respond to discovery propounded

 by Plaintiffs (interrogatories, document request and request for admissions) to October 31, 2016.

 This is the first request by the Defendant for additional time.        Plaintiffs’ have previously

 requested extensions and would not be prejudiced by such an enlargement of time since the

 discovery requests were propounded at or near the close of discovery.

          Defendant also seeks to postpone the deposition of Orlans Moran, PLLC until after the

 deposition of the Plaintiffs occurring. The depositions of the Plaintiffs were noticed prior to the

 issuance of a deposition notice to Orlans Moran, PLLC, however, Plaintiffs' counsel has not

 made the Plaintiffs available for deposition. A motion to compel Plaintiffs attendance at a

 deposition was filed by co-defendant Wells Fargo Bank, N.A. and is pending decision by the

 Court.

          WHEREFORE, Defendant, Orlans Moran, PLLC prays that the following relief enter:

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         1. The time for it to respond to the interrogatories, request for production of documents

             and request for admissions be enlarged to and including October 31, 2016;

         2. Order that the deposition scheduled for Orlans Moran, PLLC be rescheduled to a date

             and time after the Plaintiffs are deposed; and

         3. Such other and further relief as this Honorable Court deems meet and just.


                                                  Plaintiff
                                                  By its attorney


                                                  /s/ Michael R. Hagopian
                                                  ________________________________
                                                  Michael R. Hagopian #3448
                                                  Orlans Moran PLLC
                                                  PO Box 540540
                                                  Waltham MA 02454
                                                  (781) 790-7800

 15-009414
                                       CERTIFICATE OF SERVICE

 I hereby certify that, on the ___20________ day of _____September____________, 2016:

 ____John Ennis___and        David Fialkow_______________________________________________.
 The document electronically filed and served is available for viewing and/or downloading from the Rhode
 Island Judiciary’s Electronic Filing System.

 _______________________________________________________________________.
 The document electronically served is available for viewing and/or downloading from the Rhode Island
 Judiciary’s Electronic Filing System.
                        -delivered this document to the attorney for the opposing party and/or the opposing
 party if self-represented, whose name is ________________________ at the following address
 __________________________.

                                                  __/s/ __Michael R. Hagopian_______




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